         Case 8:20-cv-00048-JVS-JDE Document 485 Filed 08/25/21 Page 1 of 4 Page ID #:39369


            1    JOSHUA H. LERNER, SBN 220755
                   jlerner@gibsondunn.com
            2    GIBSON, DUNN & CRUTCHER LLP
                 555 Mission Street Suite 3000
            3    San Francisco, CA 94105
                 Tel.: 415.393.8200 / Fax: 415.393.8306
            4
                 H. MARK LYON, SBN 162061
            5      mlyon@gibsondunn.com
                 GIBSON, DUNN & CRUTCHER LLP
            6    1881 Page Mill Road
                 Palo Alto, CA 94304-1211
            7    Tel.: 650.849.5300 / Fax: 650.849.5333
            8    BRIAN M. BUROKER, pro hac vice
                  bburoker@gibsondunn.com
            9    BRIAN K. ANDREA, pro hac vice               ILISSA SAMPLIN, SBN 314018
                  bandrea@gibsondunn.com                       isamplin@gibsondunn.com
          10     GIBSON, DUNN & CRUTCHER LLP                 GIBSON, DUNN & CRUTCHER LLP
                 1050 Connecticut Avenue, N.W.               333 South Grand Avenue
          11     Washington, D.C. 20036                      Los Angeles, CA 90071-3197
                 Tel.: 202.955.8500 / Fax: 202.467.0539      Tel.: 213.229.7000 / Fax: 213.229.7520
          12
                 BRIAN A. ROSENTHAL, pro hac vice            ANGELIQUE KAOUNIS, SBN 209833
          13      brosenthal@gibsondunn.com                   akaounis@gibsondunn.com
                 GIBSON, DUNN & CRUTCHER LLP                 GIBSON, DUNN & CRUTCHER LLP
          14     200 Park Avenue                             2029 Century Park East Suite 4000
                 New York, NY 10166-0193                     Los Angeles, CA 90067
          15     Tel.: 212.351.2339 / Fax: 212.817.9539      Tel.: 310.552.8546 / Fax: 310.552.7026
          16     Attorneys for Defendant Apple Inc.
          17                         UNITED STATES DISTRICT COURT
          18                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                          SOUTHERN DIVISION
          19
                 MASIMO CORPORATION,                         CASE NO. 8:20-cv-00048-JVS (JDEx)
          20     a Delaware corporation; and
                 CERCACOR LABORATORIES, INC.,                JOINT STIPULATION TO
          21     a Delaware corporation,                     CONTINUE THE HEARING ON
                                                             PLAINTIFFS’ MOTION FOR
          22                        Plaintiffs,              RECONSIDERATION OF THE
                                                             COURT’S JUNE 10 ORDER
          23           v.                                    DENYING MOTION TO COMPEL
                                                             DISCOVERY FROM TIM COOK
          24     APPLE INC.,
                 a California corporation,                   Hon. James V. Selna
          25
                                    Defendant.
          26                                                 Hearing Date:         September 2, 2021
                                                             Hearing Time:         10:00 a.m.
          27                                                 Courtroom:            6A
          28
                                 JOINT STIPULATION TO CONTINUE THE HEARING ON PLAINTIFFS’
Gibson, Dunn &
                                               MOTION FOR RECONSIDERATION
Crutcher LLP                                 CASE NO. 8:20-CV-00048-JVS (JDEX)
         Case 8:20-cv-00048-JVS-JDE Document 485 Filed 08/25/21 Page 2 of 4 Page ID #:39370


            1            Pursuant to Local Rule 7-1, Plaintiffs Masimo Corporation and Cercacor
            2    Laboratories, Inc. (“Masimo”) and Defendant Apple Inc. (“Defendant”) (collectively,
            3    the “Parties”), by and through their respective counsel, hereby stipulate and agree to
            4    continue the Hearing on Plaintiffs’ Motion for Reconsideration of the Court’s June 10
            5    Order Denying Motion to Compel Discovery from Tim Cook (“Motion”) as follows:
            6            WHEREAS, on July 19, 2021, Masimo filed the Motion (Dkt. Nos. 471, 472);
            7            WHEREAS, Masimo noticed the Motion for a hearing on Thursday, August 19,
            8    2021;
            9            WHEREAS, the Court rescheduled the hearing on the Motion to September 2,
          10     2021 (Dkt. No. 480);
          11             WHEREAS, counsel for Apple, due to a scheduling conflict relating to family
          12     travel, requested that Masimo consent to continue the hearing on the Motion;
          13             WHEREAS, Masimo agreed to Apple’s request;
          14             WHEREAS, September 23, 2021, is the first Thursday after September 2, 2021,
          15     on which counsel for both parties are available; and
          16             WHEREAS, the Parties therefore request that the Court continue the hearing on
          17     the Motion to September 23, 2021, at 10:00 a.m.
          18             IT IS HEREBY STIPULATED AND AGREED AS FOLLOWS:
          19             1.    The Hearing on the Motion shall be continued to September 23, 2021, at
          20     10:00 a.m., in Courtroom 6A;
          21             2.    This Stipulation is strictly related to scheduling, and nothing in this
          22     Stipulation shall be construed as evidencing any position or concession by either Party
          23     about the legality of the proposed relief or the merits of the Motion.
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          28                                                 1
                                  JOINT STIPULATION TO CONTINUE THE HEARING ON PLAINTIFFS’
Gibson, Dunn &
                                                MOTION FOR RECONSIDERATION
Crutcher LLP                                  CASE NO. 8:20-CV-00048-JVS (JDEX)
         Case 8:20-cv-00048-JVS-JDE Document 485 Filed 08/25/21 Page 3 of 4 Page ID #:39371


            1    Dated: August 25, 2021              Respectfully submitted,
            2                                        JOSHUA H. LERNER
                                                     H. MARK LYON
            3                                        BRIAN M. BUROKER
                                                     BRIAN A. ROSENTHAL
            4                                        ILISSA SAMPLIN
                                                     ANGELIQUE KAOUNIS
            5                                        BRIAN K. ANDREA
                                                     GIBSON, DUNN & CRUTCHER LLP
            6
            7
                                                     By: /s/ Joshua H. Lerner
            8                                            Joshua H. Lerner
            9
                                                     Attorneys for Defendant Apple Inc.
          10
          11
                                                     JOSEPH R. RE
          12                                         STEPHEN C. JENSEN
                                                     PERRY D. OLDHAM
          13                                         STEPHEN W. LARSON
                                                     ADAM B. POWELL
          14                                         KNOBBE, MARTENS, OLSON & BEAR LLP
          15
          16                                         By: /s/ Adam B. Powell
                                                         Adam B. Powell
          17
          18                                         Attorneys for Plaintiffs Masimo Corporation
                                                     and Cercacor Laboratories, Inc.
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                               JOINT STIPULATION TO CONTINUE THE HEARING ON PLAINTIFFS’
Gibson, Dunn &
                                             MOTION FOR RECONSIDERATION
Crutcher LLP                               CASE NO. 8:20-CV-00048-JVS (JDEX)
         Case 8:20-cv-00048-JVS-JDE Document 485 Filed 08/25/21 Page 4 of 4 Page ID #:39372


            1                 ATTESTATION UNDER LOCAL RULE 5-4.3.4(a)(2)(i)
            2          Pursuant to Civil L. R. 5-4.3.4(a)(2)(i), I attest that concurrence in the filing of
            3    this document has been obtained from each of the signatories above.
            4
            5                                            By: /s/ Joshua H. Lerner
                                                             Joshua H. Lerner
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            7                                            Attorney for Defendant Apple Inc.
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                                 JOINT STIPULATION TO CONTINUE THE HEARING ON PLAINTIFFS’
Gibson, Dunn &
                                               MOTION FOR RECONSIDERATION
Crutcher LLP                                 CASE NO. 8:20-CV-00048-JVS (JDEX)
